 Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 1 of 34 PageID #:1380




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

JULIUS H. SCHOEPS, BRITT-MARIE        )
ENHOERNING, and FLORENCE VON          )
KESSELSTATT,                          )
                                      )
                  Plaintiffs,         )
                                      )     Case No. 1:22-cv-07013
     v.                               )
                                      )     Hon. Jeremy C. Daniel
SOMPO HOLDINGS, INC., SOMPO           )
INTERNATIONAL HOLDINGS LTD.,          )
SOMPO FINE ART FOUNDATION, and        )
SOMPO JAPAN INSURANCE INC.,           )
                                      )
                  Defendants.         )

    DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
THE FIRST AMENDED COMPLAINT PURSUANT TO FEDERAL RULES OF CIVIL
PROCEDURE 12(b)(1) & 12(b)(2) AND DOCTRINE OF FORUM NON CONVENIENS

                                    Daniel T. Graham (ARDC No. 6203811)
                                    Priscilla Singer (ARDC No. 6307021)
                                    Jeffrey M. Sniadanko (ARDC No. 6331532)
                                    Melissa E. Garcia (ARDC No. 6342000)
                                    CLARK HILL PLC
                                    130 East Randolph Street, Suite 3900
                                    Chicago, Illinois 60601
                                    (312) 989-5900
                                    dgraham@clarkhill.com
                                    psinger@clarkhill.com
                                    jsniadanko@clarkhill.com
                                    mgarcia@clarkhill.com

                                    Ronald A. King (N. D. Ill. No. 90784709)
                                    CLARK HILL PLC
                                    215 South Washington Square, Ste. 200
                                    Lansing, MI 48933
                                    (517) 318-3100
                                    rking@clarkhill.com
       Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 2 of 34 PageID #:1381




                                                    TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 1

I.        THERE IS NO SUBJECT MATTER JURISDICTION OVER THE SOMPO
          ENTITIES PURSUANT TO RULE 12(b)(1) ..................................................................... 1

          A.         Plaintiffs Lack Standing To Sue. ............................................................................ 1

II.       PLAINTIFFS CANNOT CONJURE SUBJECT MATTER JURISDICTION BY
          ALTERNATIVE MEANS. ................................................................................................. 3

          A.         Federal Common Law Does Not Confer Federal Subject Matter
                     Jurisdiction Over Plaintiffs’ Claims........................................................................ 3

          B.         Plaintiffs’ Request For Plenary Equitable Authority Lacks Support In
                     Law. ........................................................................................................................ 6

III.      NO SPECIFIC PERSONAL JURISDICTION EXISTS OVER THE SOMPO
          ENTITIES PURSUANT TO RULE 12(b)(2) ..................................................................... 7

          A.         Plaintiffs Fail To Cite Suit-Related Conduct. ....................................................... 11

          B.         Plaintiffs Fail To Assert Certain Conduct Is “Related To” Their Claims............. 14

                     1.         Defendants’ Websites and Advertisements Do Not “Relate to”
                                Plaintiffs’ Claims. ..................................................................................... 14

                     2.         The Temporary Exhibition Does Not “Relate to” Plaintiffs’
                                Claims. ...................................................................................................... 17

                     3.         Insurance Sales by Non-Parties Do Not “Relate to” Plaintiffs’
                                Claims. ...................................................................................................... 19

          C.         The Court’s Exercise Of Specific Jurisdiction Would Be Unfair. ........................ 20

          D.         Illinois’ Long-Arm Statute Does Not Confer Personal Jurisdiction. .................... 21

IV.       ALTERNATIVELY, THE DOCTRINE OF FORUM NON CONVENIENS
          WARRANTS DISMISSAL .............................................................................................. 21

          A.         Japan Is An Available And Adequate Forum. ...................................................... 21

          B.         The Private And Public Interest Factors Support Dismissal Under FNC. ............ 24

CONCLUSION ............................................................................................................................. 25


                                                                        i
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 3 of 34 PageID #:1382




                                             TABLE OF AUTHORITIES

                                                                                                                           Page(s)

Cases

Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc.,
   751 F.3d 796 (7th Cir. 2014) .............................................................................................15, 17

AFI Holdings of Illinois, Inc. v. Nat'l Broad. Co.,
   239 F. Supp. 3d 1097 (N.D. Ill. 2017) .....................................................................................12

be2 LLC v. Ivanov,
   642 F.3d 555 (7th Cir. 2011) ...................................................................................................15

Benson v. Fannie May Confections Brands, Inc.,
   944 F.3d 639 (7th Cir. 2019) ...................................................................................................13

Briskin v. Shopify, Inc.,
    87 F.4th 404 (9th Cir. 2023) ........................................................................................10, 11, 16

Bristol-Myers Squibb Co. v. Superior Ct. of California, San Francisco Cnty.,
    582 U.S. 255 (2017) .................................................................................................9, 10, 11, 19

C.H. Johnson Consulting, Inc. v. Roosevelt Roads Naval Station Lands &
   Facilities Redevelopment Auth.,
   1:12-CV-08759, 2013 WL 5926062 (N.D. Ill. Nov. 5, 2013) .................................................12

Cancer Found., Inc. v. Cerberus Cap. Mgmt., LP,
   559 F.3d 671 (7th Cir. 2009) .....................................................................................................5

Chang v. Baxter Healthcare Corp.,
   599 F.3d 728 (7th Cir. 2010) .......................................................................................22, 23, 24

Chicago Transit Auth. Retiree Health Care Tr. v. Dilworth Paxson, LLP,
   19-CV-07570, 2020 WL 6393006 (N.D. Ill. Nov. 2, 2020) ....................................................20

Cincinnati Ins. Co. v. Eastern Atlantic Ins. Co.,
   260 F.3d 742 (7th Cir. 2001) .............................................................................................14, 22

Curry v. Revolution Laboratories, LLC,
   949 F.3d 385 (7th Cir. 2020) ...................................................................................................15

Dastar Corp. v. Twentieth Century Fox Film Corp.,
   539 U.S. 23, 123 S. Ct. 2041 (2003) ........................................................................................17

Deb v. SIRVA, Inc.,
   832 F.3d 800 (7th Cir. 2016) ...................................................................................................24

                                                                  ii
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 4 of 34 PageID #:1383




Eco Pro Painting, LLC v. Sherwin-Williams Co.,
   807 F. Supp. 2d 732 (N.D. Ill. 2011) .......................................................................................16

Eli Barzilai, et al.. v. Israel Museum,
    No. 153086/2022, 2022 WL 16856131 (N.Y. Sup. Ct. Nov. 10, 2022) ............................18, 19

Fed. Trade Comm’n v. Credit Bureau Ctr., LLC,
   937 F.3d 764 (7th Cir. 2019) .................................................................................................4, 7

Ford Motor Co. v. Montana Eighth Jud. Dist. Court,
   141 S. Ct. 1017 (2021) .............................................................................................9, 10, 11, 19

Gladstone v. Hillel,
   203 Cal.App.3d 977, 250 Cal. Rptr. 372 (Ct. App. 1988) .......................................................13

GoldenTree Asset Mgmt. LP v. BNP Paribas S.A.,
   64 F. Supp. 3d 1179 (N.D. Ill. 2014) .......................................................................................24

Goodyear Dunlop Tires Operations, S.A. v. Brown,
   564 U.S. 915 (2011) ...................................................................................................................9

Graff v. Leslie Hindman Auctioneers, Inc.,
   342 F.Supp.3d 819 (N.D. Ill. 2018), vacated on other grounds, 17 C 6748,
   2019 WL 13196397 (N.D. Ill. Feb. 12, 2019) .............................................................12, 18, 19

Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc.,
   527 U.S. 308 (1999) ...................................................................................................................7

Gubala v. Time Warner Cable, Inc.,
   846 F.3d 909 (7th Cir. 2017) .....................................................................................................4

Herbal Brands, Inc. v. Photoplaza, Inc.,
   72 F.4th 1085 (9th Cir. 2023) ..................................................................................................16

Hunter v. Pepsico,
   631 Fed. Appx. 445 (7th Cir. 2015) .......................................................................................2, 3

Illinois v. Hemi Group LLC,
     622 F.3d 754 (7th Cir. 2010) ...................................................................................................20

KAJ Foods, LLC v. Berkshire Refrigerated Warehousing, LLC,
  16-CV-672-WMC, 2017 WL 2602328 (W.D. Wis. June 15, 2017)........................................12

Kansas v. Nebraska,
   574 U.S. 445 (2015) ...............................................................................................................6, 7

In re Karavidas,
    2013 IL 115767, 999 N.E.2d ...................................................................................................12


                                                                    iii
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 5 of 34 PageID #:1384




Kellers Sys., Inc. v. Transp. Int'l Pool, Inc.,
   172 F. Supp. 2d 992 (N.D. Ill. 2001) .......................................................................................12

Ledesma v. Marriott Int'l, Inc.,
   18-CV-3947, 2021 WL 2953145 (N.D. Ill. July 14, 2021) .....................................................22

Liu v. Sec. & Exch. Comm’n,
    140 S.Ct. 1936 (2020) ................................................................................................................7

Longo Realty v. Menard, Inc.,
   2016 IL App (1st) 151231, 59 N.E.3d 1 ..................................................................................12

Lukas Mktg. v. Prince George’s Cmty. Coll.,
   1:13-CV-04062, 2013 WL 5818592 (N.D. Ill. Oct. 29, 2013) ................................................12

Lyons v. Hyatt Hotels Corp.,
   3:21-CV-126 DRL-MGG, 2021 WL 5015128 (N.D. Ind. Oct. 27, 2021) .........................22, 23

Mashayekhi v. Iran,
  US. 515 F. Supp. 41 (D.D.C. 1981) ...........................................................................................5

McGill v. Lazzaro,
  92 Ill.App.3d 393, 416 N.E.2d 29 (1st Dist. 1980) ....................................................................3

Meghrig v. KFC W., Inc.,
  516 U.S. 479 (1996) ...................................................................................................................4

Miller v. French,
   530 U.S. 327 (2000) ...................................................................................................................7

Mitchell v. Robert De Mario Jewelry, Inc.,
   361 U.S. 288 (1960) ...................................................................................................................7

Moore v. Brandenberg,
  248 Ill. 232 93 N.E. 733 (1910) .................................................................................................3

Myers v. Heritage Enters., Inc.,
   332 Ill.App.3d 514, 773 N.E.2d. 767 (4th Dist. 2002) ..............................................................2

Northern Grain Marketing, LLC v. Greving,
   743 F.3d 487 (7th Cir. 2014) ...............................................................................................8, 20

O'Connor v. Sandy Lane Hotel Co., Ltd.,
   496 F.3d 312 (3d Cir. 2007).....................................................................................................20

O’Donnell v. Elgin, J. & E. Ry. Co.,
   193 F.2d 348 (7th Cir. 1951) .....................................................................................................3



                                                                    iv
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 6 of 34 PageID #:1385




O'Neal v. Bumbo Int'l Tr.,
   16 F. Supp. 3d 952 (S.D. Ind. 2014) ........................................................................................20

Porter v. Warner Holding Co.,
   328 U.S. 395 (1946) ...................................................................................................................7

Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co.,
   324 U.S. 806, 65 S. Ct. 993, 89 L. Ed. 1381 (1945) ................................................................12

Provincial Gov’t of Marinduque v. Placer Dome, Inc.,
   582 F.3d 1083 (9th Cir. 2009) ...............................................................................................4, 5

Ptasinska v. U.S. Dept. of State,
   07 C 3795, 2007 WL 3241560 (N.D. Ill. Nov. 1, 2007) ..........................................................20

Reif v. Art Inst. of Chicago,
    No. 23-CV-2443 (JGK), 2023 WL 8167182 (S.D.N.Y. Nov. 24, 2023) .................................23

Relf v. Shatayeva,
    2013 IL 114925, 998 N.E.2d 18 (Ill. 2013) ...............................................................................2

Republic of Philippines v. Marcos,
   806 F.2d 344 (2d. Cir. 1986)......................................................................................................5

Richter v. LG Chem, Ltd.,
   18 CV 50360, 2022 WL 5240583 (N.D. Ill. Sept. 27, 2022) ...................................................10

Rodriguez v. Fed. Deposit Ins. Corp.,
   140 S. Ct. 713 (2020) .................................................................................................................4

Rogers v. City of Hobart,
   996 F.3d 812 (7th Cir. 2021) ...................................................................................................10

Romag Fasteners, Inc. v. Fossil, Inc.,
   140 S. Ct. 1492 (2020) ...............................................................................................................7

Shanahan v. Nat'l Auto Prot. Corp.,
   No. 1:19-CV-03788, 2020 WL 3058088 (N.D. Ill. June 9, 2020) ...................................8, 9, 20

Stransky v. Cummins Engine Co., Inc.,
    51 F.3d 1329 (7th Cir.1995) ....................................................................................................14

In re Syngenta Mass Tort Actions,
    3:16-CV-00255-DRH, 2017 WL 2117728 (S.D. Ill. May 15, 2017).......................................20

Tamburo v. Dworkin,
   601 F.3d 693 (7th Cir. 2010) ...................................................................................................20



                                                                    v
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 7 of 34 PageID #:1386




Taylor v. Meirick,
   712 F.2d 1112 (7th Cir. 1983) .................................................................................................13

Texas v. New Mexico,
   462 U.S. 554 (1983) ...................................................................................................................6

TGI Sys. Corp. v. Jens Giessler & Neumann & Muller GmbH & Co. KG,
   15 C 4341, 2016 WL 878264 (N.D. Ill. Mar. 8, 2016) ............................................................23

Travelers Cas. & Sur. Co. v. Interclaim (Bermuda) Ltd.,
   304 F. Supp. 2d 1018 (N.D. Ill. 2004) .....................................................................................21

U.S.O. Corp. v. Mizuho Holding Co.,
   547 F.3d 749 (7th Cir. 2008) ...................................................................................................22

uBID, Inc. v. GoDaddy Group, Inc.,
   623 F.3d 421 (7th Cir. 2010) ...................................................................................................20

Ungaro-Benages v. Dresdner Bank AG,
   379 F.3d 1227 (11th Cir. 2004) .............................................................................................5, 6

United States v. Park,
   389 F. Supp. 3d 561 (N.D. Ill. 2019) .........................................................................................4

Walden v. Fiore,
   571 U.S. 277 (2014) .............................................................................................................9, 16

Will v. Northwestern Univ.,
   378 Ill.App.3d 280, 881 N.E.2d 481 (1st Dist. 2007) ............................................................2, 3

Wilson v. Sundstrand Corp.,
   99 C 6944, 2002 WL 99745 (N.D. Ill. Jan. 25, 2002) ...............................................................2

Zuckerman v. Metro. Museum of Art,
   928 F.3d 186 (2d Cir. 2019)...................................................................................................5, 6

Statutes

735 ILCS § 5/2-209(a)(1) ..............................................................................................................21

735 ILCS § 5/2-209(a)(2) ........................................................................................................21, 22

755 ILCS § 5/22-3 ...........................................................................................................................3

Holocaust Expropriated Art Recovery Act of 2016, PL 114-308, December 16,
   206 130 Stat 1524 ....................................................................................................4, 5, 6, 7, 23

Holocaust Victims Redress Act (“HVRA”) .....................................................................................4


                                                                     vi
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 8 of 34 PageID #:1387




Rules

Fed. R. Civ. P. 12(b)(1)....................................................................................................................1

Fed. R. Civ. P. 12(b)(2)..........................................................................................................1, 7, 12

Other Authorities

Prague Holocaust Era Assets Conference, Terezin Declaration (June 30, 2009),
   https://www.state.gov/prague-holocaust-era-assets-conference-terezin-
   declaration ..................................................................................................................................4

Restatement (Second) of Torts §322, Comment “c” .....................................................................13

Wall Street Journal ..................................................................................................................11, 16




                                                                       vii
      Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 9 of 34 PageID #:1388




          Defendants submit this reply memorandum of law in further support of their motion to

dismiss Plaintiffs’ First Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(2) and the

doctrine of forum non conveniens (the “Motion”), as follows:

                                          INTRODUCTION

          Plaintiffs’ opposition does not cure the essential problem with their case: it simply does

not belong in this Court. Plaintiffs fail to rebut any of the Sompo Entities’ challenges that:

(1) Plaintiffs lack standing to sue as heirs or as representatives of the so-called “community of

heirs” of Paul von Mendelssohn-Bartholdy (“Mendelssohn-Bartholdy”) or his second wife Elsa;

(2) there is no specific personal jurisdiction over Defendants in Illinois; and (3) even if Plaintiffs

had standing (which they do not) or the Court had jurisdiction over the Defendants (which it does

not), the Court should dismiss the Complaint based on the doctrine of forum non conveniens

because this dispute is properly heard in the courts of Japan.

          Plaintiffs ask the Court to ignore precedent and exercise “equitable plenary jurisdiction”

and apply federal common law to maintain their suit in Illinois. ECF#67, pp.10-15.1 Each time a

court has addressed these issues – under the very statutes and treaties on which Plaintiffs now rely

– it has refused to do so. This Court should do the same.

                                             ARGUMENT

     I.    THERE IS NO SUBJECT MATTER JURISDICTION OVER THE SOMPO
           ENTITIES PURSUANT TO RULE 12(b)(1)

             A.      Plaintiffs Lack Standing To Sue.

          Defendants challenged Plaintiffs’ standing to pursue this action (that allegedly survives the

Decedents) in their representative capacities as “agents and representatives” of the Heirs of the

Decedents for failing to comply with Illinois law. Mtn. pp.7-11 (citing to Hunter v. Pepsico, 631


1
    Plaintiffs’ Amended Response to the Motion (ECF#67), hereinafter “Response” or “Rsp.”

                                                    1
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 10 of 34 PageID #:1389




Fed. Appx. 445, 446 (7th Cir. 2015) (survival actions must be brought by an “executor or

administrator… on behalf of the estate.”); FAC ¶¶1, 17, 19-21. Here, Plaintiffs admit that they are

not appointed as executors or administrators on behalf of the estates of either Mendelssohn-

Bartholdy or his second wife, Elsa. See Rsp. p.1; see also id. Ex. G at Ex. 4, ¶10. Without

attempting to distinguish the authorities Defendants cite2, Plaintiffs argue they are “not suing in a

representative capacity” (Rsp. p.7 (emphasis added)), yet in the same breath, claim that they have

standing to sue for the survival action under German law “as members of the community of heirs”.

Rsp. p.8; Ex. 4, ¶8; Ex. 4 (F) (as members of a “community of heirs,” Plaintiffs “may perform only

to all heirs jointly and each co-heir may claim only performance to all heirs.” (emphasis added)).3

Indisputably, Plaintiffs are not the “sole heirs” of Mendelssohn-Bartholdy or Elsa, and thus,

attempt to bring suit for a survival action in their representative capacities. Plaintiffs’ obfuscation

on this point does not relieve them of the duty to comply with Illinois law.4



2
  See Myers v. Heritage Enters., Inc., 332 Ill.App.3d 514, 516-17, 773 N.E.2d. 767, 768–69 (4th Dist. 2002)
(statutory and common law actions that accrued to the decedent before death survive the death of the
decedent); Will v. Northwestern Univ., 378 Ill.App.3d 280, 289-290, 881 N.E.2d 481, 492-93 (1st Dist.
2007) (survival actions in Illinois must be brought by the estate’s administrator or representative, and
beneficiaries and heirs have neither a right of action nor any control); Relf v. Shatayeva, 2013 IL 114925,
¶33, 998 N.E.2d 18, 27 (Ill. 2013) (to act as an executor or administrator of an estate in Illinois requires the
“issuance of letters of office,” which are a “hallmark of ‘personal representatives’ as that term is commonly
understood when applied to situations involving estates….”).
3
  Plaintiffs cite Wilson v. Sundstrand Corp., 99 C 6944, 2002 WL 99745 (N.D. Ill. Jan. 25, 2002) to argue
they have standing to bring suit in their individual capacities. Rsp. p.8. However, Plaintiffs’ German law
declarant implies that Schoeps and Enhoerning are not individually capable of bringing suit when at least
25 other people can do the same and that even if they were “authorized” to act they would be doing so as
members/representatives “of a community of heirs” that jointly consent to their acting. Rsp. Ex. 4, ¶¶10-
11. The same applies to Kesselstatt as member of Elsa’s “community of heirs.” Id. at ¶12. One of two things
occur here: If Schoeps is suing on behalf of a community of heirs, he is asking the court to recognize him
as the representative of the Mendelssohn-Bartholdy’s estate, in which case, Illinois law applies and a
representative of the estate must be appointed to pursue the action. If Schoeps is not acting on behalf of a
community of heirs, then there is a risk of “multiplicity of suits” if any other heir later learns of their interest
in the estate.
4
  Plaintiffs cite to Moore v. Brandenberg, 248 Ill. 232, 236 93 N.E. 733 (1910), but this case does not help
them. In Moore, the court explained that the “only parties having any interest in the property in dispute are
parties to this litigation.” Id. at 239. The parties in Moore were thus a community of individuals whose
rights in an estate were represented in the proceeding leaving no dispute as to who would inherit. Here,

                                                         2
   Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 11 of 34 PageID #:1390




        “The well-established rule in this state is that the executor or administrator of a decedent’s

estate has standing to file suit on behalf of the decedent, but the legatees, heirs, and devisees have

no such standing.” McGill v. Lazzaro, 92 Ill.App.3d 393, 395, 416 N.E.2d 29, 31 (1st Dist. 1980)

(emphasis added). Thus, pursuant to Hunter, Will and McGill, an executor or administrator must

be appointed in either Illinois or in another jurisdiction in order to file suit on behalf of a decedent

for a survival action in an individual or representative capacity. See Mtn. p.8.

        None of the cases cited in the FAC and distinguished by Defendants in their Motion lead

to a different result. Illinois law simply does not support Plaintiffs’ contention that they – as

“members of a community of heirs” – have a right to bring a survival action in a representative

capacity, let alone in a personal capacity, without an estate being opened or being appointed as

administrator. Mtn. p.10, fn.3. Absent letters of office or an appointment, Plaintiffs lack standing.5

  II.    PLAINTIFFS CANNOT CONJURE SUBJECT MATTER JURISDICTION BY
         ALTERNATIVE MEANS.

        A.       Federal Common Law Does Not Confer Federal Subject Matter Jurisdiction
                 Over Plaintiffs’ Claims.

        Plaintiffs next contend this Court may adjudicate this dispute under the “federal common

law” using plenary equitable authority to allow Plaintiffs to acquire “Nazi-confiscated art”. FAC

¶¶315-329; Rsp. pp.10-15.6 The gravamen of Plaintiffs’ Response is the implication of the HEAR



however, there is a question as to who inherits because the entire community is not present. See FAC ¶24
(stating heirs of Mendelssohn and Elsa “are aware of their competing ownership claims to Sunflowers.”)
see also Rsp. Ex. 4, ¶12 (stating that there are two communities of heirs, one community from Mendelssohn-
Bartholdy and one from Elsa).
5
  See 755 ILCS § 5/22-3 (To pursue a claim, an executor or administrator must present letters of office
issued in Illinois or “by a court of competent jurisdiction of any other state, territory, country or the District
of Columbia….”); see also O’Donnell v. Elgin, J. & E. Ry. Co., 193 F.2d 348 (7th Cir. 1951) (recognizing
the capacity of a duly appointed administrator to sue).
6
  Plaintiffs’ Response is littered with statements that Sunflowers is “Nazi-confiscated art”, a description
contradicted by the very allegations in the FAC. Rsp. p.17; FAC ¶193. Nowhere in their Response do
Plaintiffs acknowledge Mendelssohn-Bartholdy’s consignment and sale of Sunflowers to the Paris-based
art dealer Paul Rosenberg (FAC ¶199, 240), or the eventual purchase by the Beatty family in 1934 (FAC

                                                        3
  Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 12 of 34 PageID #:1391




Act and its legislative history, policies, and ties to foreign relations is sufficient to confer

jurisdiction.7 This is wrong, and Plaintiffs’ own cases demonstrate as much. Plaintiffs’ proposed

application of federal common law construes case law in a vacuum, and consequently

misunderstands the appropriate standards. Defendants cite to Rodriguez, Park, Gubala, Meghrig,

and Credit Bureau to support and explain why federal common law does not apply here.8 Plaintiffs

made no attempt to distinguish any of these cases.

        Plaintiffs cite Provincial Gov’t of Marinduque v. Placer Dome, Inc., 582 F.3d 1083 (9th

Cir. 2009), to argue this Court may apply federal common law to confer federal subject matter

jurisdiction. Rsp. p.14. In Provincial, the Ninth Circuit reviewed the propriety of a removal, and

whether the Act of State Doctrine applied to the facts of the case to serve as an underlying basis

for federal question jurisdiction. Id. at 1088. The court concluded because the Act of State Doctrine

was only implicated defensively, rather than as an essential element of the cause of action, it could

not confer federal jurisdiction. Id. at 1090. Further, the court held, “while the complaint is sprinkled

with references to the Philippine government, Philippine law, and the government’s complicity in

the claimed damage,” “none of the supposed acts of state. . .[were] essential to [plaintiff’s] claims.”

Id. at 1091. Federal common law therefore did not apply. Thus, Provincial supports Defendants’

argument: the HEAR Act neither contains an essential element of any of Plaintiffs’ claims, nor

does it create an independent cause of action; instead, it is limited to pre-emption of state statutes




¶239), before Sompo Japan acquired the Painting at Christie’s highly publicized 1987 London public
auction (“Auction”). FAC ¶5.
7
  As explained in the Motion, the FAC’s reference to the HVRA, Terezin Declaration, and HEAR Act do
not alter the conclusion that no court has created unique subject matter jurisdiction to adjudicate the types
of claims Plaintiffs bring here. See id. pp.13-14; 15, n.7 (FAC ¶¶315-329 (Counts 9-12).
8
  See Mtn. pp.11-13, citing Rodriguez v. Fed. Deposit Ins. Corp., 140 S. Ct. 713, 717 (2020); United
States v. Park, 389 F. Supp. 3d 561, 579-580 (N.D. Ill. 2019); Meghrig v. KFC W., Inc., 516 U.S. 479, 487-
88 (1996); Fed. Trade Comm’n v. Credit Bureau Ctr., LLC, 937 F.3d 764, 767 (7th Cir. 2019); Gubala v.
Time Warner Cable, Inc., 846 F.3d 909 (7th Cir. 2017).

                                                     4
    Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 13 of 34 PageID #:1392




of limitations under certain circumstances.9 See PL 114-308, §5(f). Zuckerman v. Metro. Museum

of Art, 928 F.3d 186, 195 (2d Cir. 2019).

        Plaintiffs’ other cited authorities – Ungaro, Republic of Philippines and Mashayekhi –

establish foreign relations required to confer federal jurisdiction must be “substantial.”10 In

Ungaro, the descendant of an heir to a German corporation sued German banks, alleging that

before and during World War II, banks, in conjunction with the Third Reich, had stolen Jewish

heirs’ stock as part of the “Aryanization” process. Ungaro-Benages v. Dresdner Bank AG, 379

F.3d 1227, 1233 (11th Cir. 2004). The Eleventh Circuit recognized that “the federal government

has engaged in years of state-to-state negotiations and, in 2000, concluded an executive agreement

with the German government addressing litigation arising from the National Socialist era.” Id. at

1233. There, the plaintiff’s claims implicated the executive agreement at issue. Id. at 1234. (“[T]he

agreement explicitly covers property claims.”). Further, “the Supreme Court determined that this

agreement preempts any contrary state law because such state laws would interfere with the

President’s foreign affairs power.” Id. at 1233 (citation omitted). The court held there were

sufficient ties to foreign relations to support application of federal law rather than state law. Id.



9
   As the court recognized in Provincial, a statute of limitations is an affirmative defense engaged
defensively, not an essential element of a claim, thus it cannot give rise to federal jurisdiction. See 582 F.3d
at 1090; see also, Cancer Found., Inc. v. Cerberus Cap. Mgmt., LP, 559 F.3d 671, 674-75 (7th Cir. 2009)
(observing while a complaint need not anticipate and overcome affirmative defenses, such as the statute of
limitations, dismissal is appropriate when the plaintiff pleads himself out of court by alleging facts sufficient
to establish the complaint’s tardiness)).
10
   See Republic of Philippines v. Marcos, 806 F.2d 344, 352 (2d. Cir. 1986) (finding federal jurisdiction
because the issue “directly and significantly affect[ed] American foreign relations where the foreign
government made a request on American courts). Here, there is no request by a foreign government to apply
the HEAR Act for this purpose. In Mashayekhi v. Iran, US. 515 F. Supp. 41, 43 (D.D.C. 1981), the meaning
of a treaty between the U.S. and Iran was at core of the decision. The court explained: where no underlying
constitutional basis to apply federal jurisdiction, the determinative issue is whether the case in some way
“arises under” the laws of the United States. Id. This case arose under U.S. law because there was a
“sufficiently strong” national interest to compel federal rule of decision rather than state law due to high
tensions between U.S. and Iran; and the existence of hundreds of other cases was an instance of such and
called for a consistent interpretation of the Treaty under federal law. Id. Mashayekhi is simply inapposite.

                                                       5
  Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 14 of 34 PageID #:1393




       Applicable to this case, the HEAR Act does not create agreements with foreign

governments over property or tort claims, it only extends state law statutes of limitations under

certain circumstances. Therefore, any foreign policy underlying the HEAR Act is not an essential

element of Plaintiffs’ claims. See FAC ¶¶315-321; see also Mtn. pp.18-25. Lastly, Plaintiffs

provide no analysis or case law to rebut the Zuckerman court’s refusal to create a uniform federal

common law remedy under the HEAR Act. Zuckerman, 928 F.3d at 195, n.9. Plaintiffs’ suggestion

that this Court should apply federal common law is thus without support and must be rejected. See

Counts Eleven and Twelve. FAC ¶¶322-329.

       B.      Plaintiffs’ Request For Plenary Equitable Authority Lacks Support In Law.

       Plaintiffs’ request for the Court’s exercise of plenary equitable authority fares no better.

No legal authority supports Plaintiffs’ request for this Court’s exercise of plenary equitable

authority over Counts Eleven and Twelve. (FAC ¶¶322-329). Plaintiffs’ continued, mistaken

reliance on Kansas v. Nebraska, 574 U.S. 445, 456 (2015) ignores a critical caveat to a Court’s

exercise of plenary equitable authority: “legal status underscores a limit on our enforcement power:

We may not ‘order relief inconsistent with [a compact’s] express terms.’” Id. at 455-56 (citing

Texas v. New Mexico, 462 U.S. 554, 564 (1983)).

       Here, Congress expressly refused to create a civil claim or cause of action under federal or

state law or create any federal remedies under the HEAR Act (PL 114-308, §5(f)), let alone any of

the other statutes and proclamations Plaintiffs cite in the FAC relating to Nazi-stolen art. FAC ¶45.

Congress’ intent forecloses Plaintiffs’ argument that this Court should exercise its plenary

equitable authority to create a means by which Plaintiffs seek possession of Sunflowers, because

any creation of an equitable remedy would be “inconsistent with the [Act’s] express terms.”

Kansas, 574 U.S. at 456. The Supreme Court in Mitchell v. Robert De Mario Jewelry, Inc., 361

U.S. 288, 292 (1960) appreciated this deference to Congress and instructs that courts presume

                                                 6
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 15 of 34 PageID #:1394




Congress is cognizant of the scope of equity, and knows what it is doing when it provides for (or

declines to provide) general equitable relief in a regulatory statute. See id. at 291-92. The plain

meaning of the words themselves in the HEAR Act serve to raise “a necessary and inescapable

inference,” sufficient under Porter v. Warner Holding Co., 328 U.S. 395, 398 (1946) and Mitchell,

that Congress intended to limit relief to that enumerated in the Act. Credit Bureau, 937 F.3d at

783. That Plaintiffs fail to address Defendants’ case law on these issues reveals their

misunderstanding of the limitations on the exercise of plenary equitable authority, and their case

law in opposition ranges from inapposite11 to misleading.12 None of the statutes cited by Plaintiffs

even hints that this Court should exercise “plenary equitable authority” to create jurisdiction, let

alone causes of action or remedies when Congress declined to so provide.

 III.    NO SPECIFIC PERSONAL JURISDICTION EXISTS OVER THE SOMPO
         ENTITIES PURSUANT TO RULE 12(b)(2)

         The Court should dismiss the FAC because there are not sufficient suit-related minimum

contacts between Defendants and Illinois to satisfy the Supreme Court’s due process requirements.

Nor do Plaintiffs submit counter-Declarations to refute that: (1) Sompo Holdings is a Tokyo-based

holding company with no offices or business in Illinois or anywhere in the U.S., does not target

Illinois with its advertisements, and was not involved in displaying Sunflowers at the Art Institute


11
   Miller v. French, 530 U.S. 327, 340 (2000) (determining plain language of automatic stay provision of
the Prison Litigation Reform Act did not permit district courts to exercise their equitable authority to
suspend operation of stay); Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308,
317 (1999) (finding district court had no authority to issue a preliminary injunction where ultimate relief
was analogous to a “creditor’s bill” that would prevent the petitioners from disposing of their assets pending
adjudication of respondents' contract claim for money damages—not traditionally provided for in equity).
12
   Plaintiffs’ citation to Romag Fasteners, Inc. v. Fossil, Inc., 140 S. Ct. 1492 (2020) is misleading. In
Romag the Court analyzed whether imposition of a mens rea component for trademark infringement was
required to recover lost profits for use of false or misleading trademarks. Id. at 1494-97. The Supreme Court
held it was not a requirement and Romag has no bearing whatsoever on the issues presented here. Liu v.
Sec. & Exch. Comm’n, 140 S.Ct. 1936, 1953 (2020) was not a case where the court was determining whether
to exercise plenary equitable authority. Instead, Justice Thomas’ dissent discussed generally that
“constructive trust” and “accounting” are traditional equitable remedies. The classification of these
remedies is not the issue in this case.

                                                      7
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 16 of 34 PageID #:1395




of Chicago in 2001 for 3½ months (“Exhibition”) (T. Noma Decl. ¶¶3, 5-7, 11); (2) Sompo Japan

is a Tokyo-based insurance company and does not solicit insurance in Illinois, does not target

Illinois with its advertisements, and did not receive any proceeds from ticket sales from the

Exhibition (A. Yoshida Dec. ¶¶3, 6-7, 15); (3) Sompo Bermuda is a Bermuda-based holding

company with no offices or business in Illinois or anywhere in the U.S.; it does not target Illinois

with its advertisements, and was not involved in displaying Sunflowers at the Exhibition (G.

Garside Dec. ¶¶3, 6-8, 10); and (4) the Art Foundation is a Tokyo-based public interest foundation

that does not sell insurance in any country; it has no offices or business anywhere in the U.S.; it

does not target Illinois with its advertisements, and it did not receive any proceeds from ticket sales

from the Exhibition (T. Umemoto Dec. ¶¶3-7, 18). Defendants’ Declarations are unrefuted.13

         To demonstrate the lack of suit-related contacts between Defendants and Illinois, the

Motion addressed each of Plaintiffs’ causes of action, their elements, and the facts pled in the FAC.

Mtn. pp.15-35. Plaintiffs entirely eschew this analysis in their Response. Instead, they contend

specific jurisdiction exists relying on (1) a non-defendant, Sompo entity that sells insurance in

Illinois and has an office on Madison Avenue in Chicago14 (Rsp. pp.1, 22, 26, 28), and (2) the

existence of a website viewable in Illinois, and throughout the world, where the Sunflowers image

is shown (reflective of Sompo’s “archetypal branding”)15. Id. pp.1, 5, 26, 28-29, 31. Plaintiffs



13
   The Court must accept as true all “unrefuted” facts in Defendants’ declarations. Shanahan v. Nat'l Auto
Prot. Corp., No. 1:19-CV-03788, 2020 WL 3058088, at *1 (N.D. Ill. June 9, 2020) (citing Northern Grain
Marketing, LLC v. Greving, 743 F.3d 487, 491 (7th Cir. 2014)); see also Mtn. p.6.
14
   As noted in the G. Garside Declaration, “Sompo Bermuda has indirect subsidiaries that have an office in
Chicago for the purpose of selling insurance.” Mtn. Ex. C, ¶9.
15
   In their Response, Plaintiffs improperly group together all Defendants’ websites by repeatedly stating
that Defendants display the Sunflowers image on “their website.” Rsp. p.5; see also id. pp.28-29, 31-32,
36, 38. However, each Defendant maintains its own, separate website. Only Plaintiffs’ “expert” cites to the
website of Sompo Holdings (https://www.sompo-hd.com/en/) to state that the Sunflowers image can be
viewed there. Rsp. Exhibit 3, ¶8. In the FAC, only Sompo Holdings’ website is listed as displaying the
Sunflowers image. FAC ¶¶39 Exhibit 10, 62, 82-83, 85, 89(a), 119, 270(e), 311.


                                                    8
  Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 17 of 34 PageID #:1396




fundamentally misapprehend their burden to allege suit-related conduct in Illinois sufficient to

confer personal jurisdiction over Defendants. Plaintiffs’ argument boils down to their mistaken

theory that any Defendant having a subsidiary “doing business” in Illinois is enough to confer

personal jurisdiction, even when that business is not Plaintiffs’ purchase of insurance and is

unrelated to their claims. The Supreme Court in Bristol-Myers rejected this theory, holding a

“defendant's general connections with the forum are not enough.” Bristol-Myers Squibb Co. v.

Superior Ct. of California, San Francisco Cnty., 582 U.S. 255, 256 (2017) (“[w]hat is needed is a

connection between the forum and the specific claims at issue”) (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (a plaintiff must allege “‘affiliation between

the forum and the underlying controversy....’”)); see also Walden v. Fiore, 571 U.S. 277, 284

(2014) (holding no specific jurisdiction where the defendant’s conduct did not create a “substantial

connection” with the forum state).

       Without mentioning, let alone attempting to distinguish, Bristol-Myers, Plaintiffs argue the

Supreme Court’s decision in Ford Motor Co. v. Montana Eighth Jud. Dist. Court, 141 S. Ct. 1017

(2021) fundamentally altered the specific personal jurisdiction standards. Rsp. p.32. Not so. First,

Ford must be viewed in context. The Supreme Court rejected defendant’s argument that a direct

causal link was the only way a court could exercise specific jurisdiction over it. Id. at 1019. The

Supreme Court explained that the specific jurisdiction inquiry does not always require proof of

causation. Id. at 1026. However, the Ford Court, even absent a direct causal link between

defendant’s forum conduct and the claim, recognized the importance of strong suit-related contacts

between defendant and the forum state. More specifically, Ford involved product liability claims

against for personal injuries resulting from allegedly defective vehicles sold outside the forum

state. Id. at 1019. The Court determined that Ford had suit-related contacts because “Ford had



                                                 9
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 18 of 34 PageID #:1397




systematically served a market in [the forum state] for the very vehicles that the plaintiffs allege[d]

malfunctioned and injured them in [the forum state]”. Id. at 1028. In contrast, here, neither

Plaintiffs’ claims for conversion nor for any exploitation of the image relate to Defendants’ Illinois

activities, where the alleged conversion took place outside of Illinois, and the alleged exploitation

of the publicly available image of Sunflowers was not purposely targeted to Illinois.

         Plaintiffs fail to cite any decision holding that Ford altered the Bristol-Myers standard for

determining specific jurisdiction. On the contrary, this Court has expressly held that “Ford

wrought no sea change in the law of specific personal jurisdiction....”16 Richter v. LG Chem,

Ltd., 18 CV 50360, 2022 WL 5240583, at *2 (N.D. Ill. Sept. 27, 2022) (emphasis added). The

Richter court held a defendant that manufactured rechargeable batteries outside of Illinois and did

not target Illinois in any way, did not relate to plaintiff’s product liability claim sufficiently to

support personal jurisdiction over it in the forum. Id. at *3. Other courts have reached the same

conclusion. Recently, the Ninth Circuit harmonized Ford and Bristol-Myers in Briskin v. Shopify,

Inc., 87 F.4th 404 (9th Cir. 2023) explaining the “arises out of or relates to” analysis for specific

jurisdiction is a “claim-tailored inquiry that requires us to examine the plaintiff’s specific

injury and its connection to the forum-related activities in question.” Briskin, 87 F.4th at 413

(emphasis added) (citing Bristol-Myers, 582 U.S. at 262). “‘[A]rising out of’... ‘asks about

causation.’” Id. at 413 (quoting Ford, 141 S. Ct. at 1026). As for the “related to” part of the inquiry,

Briskin clarified that Ford “cautioned that ‘relates to’ ‘does not mean anything goes.’” Id. at 414


16
   In Richter, the court dismissed for lack of specific jurisdiction. Plaintiff moved to vacate because the
dismissal was based on a lack of causal relationship between defendant’s Illinois contacts and plaintiff’s
claims. 2022 WL 5240583, at *2. Plaintiff argued Ford precluded dismissal on this basis. Id. at 1-2 (citing
Ford, 141 S. Ct. at 1026). The court responded that it was “far from ‘almost certain’ that Ford upends
Seventh Circuit personal jurisdiction precedent.” Id. at 2. Richter also cited Rogers v. City of Hobart, 996
F.3d 812 (7th Cir. 2021) to say “the Seventh Circuit’s main comment on Ford was simply to clarify that it
‘does not alter the governing principle in this case.’” Richter, 2022 WL 5240583 at *3 (citing Rogers, 996
F.3d at 820 & n.14).

                                                    10
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 19 of 34 PageID #:1398




(quoting Ford, 141 S. Ct. at 1026). The Ninth Circuit concluded that Ford did not fundamentally

alter the specific jurisdiction analysis, let alone abrogate the Supreme Court’s decision in

Bristol-Myers.17

         As addressed below, Plaintiffs have not alleged the requisite suit-related Illinois activity to

confer specific personal jurisdiction over Defendants in this case.

         A.      Plaintiffs Fail To Cite Suit-Related Conduct.

         None of Defendants’ Illinois activities “arise out of” or “relate to” Plaintiffs’ claims.

         Counts One, Two and Three seek replevin, conversion and trover. FAC ¶¶274-289. In their

Motion, Defendants explain there are no suit-related contacts in Illinois because Sompo Japan

acquired the Painting in London at the Auction in 1987; and no other Defendant ever owned or

controlled the Painting. Mtn. pp.18-20. Nonetheless, Plaintiffs contend that displaying Sunflowers

at the Exhibition was “unlawful dominion and control” over it, and thus “relates to” Counts I-III18



17
   The Briskin court also held plaintiff’s allegations of defendant’s broader contacts (extensive business in
the forum, contracts with state merchants, a brick-and-mortar store, a fulfillment center, and subsidiary
employees) were only relevant for a general jurisdiction analysis and were deemed irrelevant for specific
jurisdiction. 87 F.4th at 413. Here, Plaintiffs point to the following irrelevant contacts: a non-party’s
subsidiary’s physical office in Chicago that sells insurance (FAC ¶62); display of the Sunflowers image
(which is in the public domain) on certain of the Sompo Entities’ websites for marketing insurance sales
(FAC ¶62); temporary 3 ½ month museum display of Sunflowers in Illinois more than 20 years ago (FAC
¶31); solicitation of prospective U.S. insurance consumers (FAC ¶75); and a Wall Street Journal ad that
did not feature the Sunflowers image and has not specifically targeted Illinois (FAC ¶84).
18
   Plaintiffs also contend the actions of all Defendants should be lumped together under an alter ego theory.
Rsp. pp.16-17. This is a baseless attempt to misdirect this Court from the fact that none of the Sompo
Entities have sufficient minimum contacts to confer specific jurisdiction here. Plaintiffs cite to Kellers Sys.,
Inc. v. Transp. Int'l Pool, Inc., 172 F. Supp. 2d 992 (N.D. Ill. 2001) as the legal standard for the alter ego
theory; however, Kellers did not address a Rule 12(b)(2) motion. In AFI Holdings of Illinois, Inc. v. Nat'l
Broad. Co., 239 F. Supp. 3d 1097 (N.D. Ill. 2017), the court observed that, where plaintiff did not allege
corporate formalities between the defendant affiliates were not observed, or that one defendant affiliate
exercised control over the other, it could not find jurisdiction over the non-resident affiliate for lack of
evidence, nor merely because it was an affiliate of an Illinois entity. Id. at 1102. In Plaintiffs’ FAC and
Response, they merely allege that because the Sompo Entities are affiliated, they are alter egos of one
another – but offer no evidence or counter-declarations in support. See FAC ¶¶57-60; see also Rsp. pp.16-
17. As in AFI Holdings, where Plaintiffs offer no evidence to support an alter ego argument, this Court
cannot find that it has jurisdiction over Defendants merely because they have Illinois affiliates. See Mtn. at
Exs. A-D.

                                                      11
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 20 of 34 PageID #:1399




to Defendants’ Illinois contacts. Rsp. p.32. Under Illinois law, “[c]onversion requires the plaintiff

establish by a preponderance of the evidence” all the elements of the cause of action. Longo Realty

v. Menard, Inc., 2016 IL App (1st) 151231, ¶ 39, 59 N.E.3d 1, 11. “Dominion and control” is one

element, but Plaintiffs ignore the rest of the necessary elements to prove where the alleged

conversion took place, including Plaintiffs’ obligation to demand possession of the converted

property. In re Karavidas, 2013 IL 115767, ¶ 61, 999 N.E.2d at 310. Plaintiffs did not demand

possession of Sunflowers when Sompo Japan permitted its display at the Exhibition. In sum,

Plaintiffs offer no facts to show suit-related conduct that arises out of or relate to Defendants’

Illinois contacts.19 See Graff v. Leslie Hindman Auctioneers, Inc., 342 F.Supp.3d 819, 826-827

(N.D. Ill. 2018), vacated on other grounds, 17 C 6748, 2019 WL 13196397 (N.D. Ill. Feb. 12,

2019) (temporary passage of the contested painting in Illinois did not create jurisdiction over an

Arizona defendant for plaintiff’s conversion claim).

         Counts Four and Five seek “unjust enrichment” under Illinois law. FAC ¶¶291; 296-300.

Unjust enrichment is not a stand-alone claim; it must be tied to a related claim to survive. Mtn.

pp.20-21; Benson v. Fannie May Confections Brands, Inc., 944 F.3d 639, 648 (7th Cir. 2019). If

these claims are tied to conversion or trover, Plaintiffs do not allege those torts occurred in Illinois.

         Count Six is for breach of duty to aid Plaintiffs in recovering the Painting. FAC ¶¶301-04.

Illinois does not impose such a duty. Mtn. pp. 21-22. Relying on their conversion claim, Plaintiffs


19
  Plaintiffs’ reliance on breach of contract cases where one party was an Illinois resident are inapposite and
do not support specific jurisdiction here where only tort claims are alleged. Cf. C.H. Johnson Consulting,
Inc. v. Roosevelt Roads Naval Station Lands & Facilities Redevelopment Auth., 1:12-CV-08759, 2013 WL
5926062 at *1, 6 (N.D. Ill. Nov. 5, 2013) (defendant’s contacts with plaintiff, as well as its contacts
authorizing plaintiff to contract with a Chicago-based consulting firm, conferred jurisdiction over
defendant); KAJ Foods, LLC v. Berkshire Refrigerated Warehousing, LLC, 16-CV-672-WMC, 2017 WL
2602328 (W.D. Wis. June 15, 2017) (breach of contract dispute); Lukas Mktg. v. Prince George’s Cmty.
Coll., 1:13-CV-04062, 2013 WL 5818592 (N.D. Ill. Oct. 29, 2013) (breach of contract); Precision
Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 807, 65 S. Ct. 993, 89 L. Ed. 1381 (1945)
(breach of contracts and infringement of three patents).

                                                     12
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 21 of 34 PageID #:1400




cite Taylor v. Meirick, 712 F.2d 1112, 1117 (7th Cir. 1983) to support their contention that such a

duty exists. Rsp. p.41. However, the Seventh Circuit in Taylor recognized the duty only with

respect to “statutory torts”. Mtn. p.22. Further, Plaintiffs rely on a California state court case,

Gladstone v. Hillel, 203 Cal.App.3d 977, 989, 250 Cal. Rptr. 372 (Ct. App. 1988).20 Both citations

are inapposite. The Restatement in Taylor articulates a tortfeasor has a duty to assist his “victim.”

See Restatement (Second) of Torts §322, Comment “c.” Plaintiffs allege the initial conversion

injury occurred either in (i) Germany in 1934 when Mendelssohn-Bartholdy transferred

Sunflowers to Paul Rosenberg; (ii) when the Beattys purchased it; or (iii) after that, when Sompo

Japan acquired Sunflowers at Auction – and that this injury created a duty for Defendants to assist

their “victim.” However, nothing in Christie’s information made available at the Auction (a copy

of which Plaintiffs attached to their FAC) revealed any victim; rather, it revealed that Rosenberg

acquired the Painting from Mendelssohn-Bartholdy and the Beattys in turn bought the Painting

from Rosenberg. FAC, Ex. 3, PageID #507. Further, Plaintiffs did not demand possession of

Sunflowers until 2022 in Japan – thus, no duty arose in Illinois to assist any “victim”. As a result,

the FAC fails to plead suit-related conduct occurred in Illinois to support jurisdiction.

         Count Seven seeks breach of duty to refrain from commercially exploiting Sunflowers.

FAC ¶¶305-08. Defendants explain in their Motion that there is no such tort claim under Illinois

law. Mtn. p.23. Plaintiffs did not challenge Defendants’ argument, and therefore concede it. See

Cincinnati Ins. Co. v. Eastern Atlantic Ins. Co., 260 F.3d 742, 747 (7th Cir. 2001) (by failing to



20
   In Gladstone, defendants knew the identity of their victim when they directly stole jewelry molds from
him. Id. at 984-85. The Restatement of Torts applied as defendants knew they could help their victim. Id.
at 984. Thus, Gladstone’s facts do not help Plaintiffs assert here that Defendants had or breached a duty to
aid them recover Sunflowers, where their “victim” was unknown to them. Even if, arguendo, Gladstone
applied the Restatement of Torts to conversion, Illinois state law governs, not California. Here, neither
Taylor nor any other case applying Illinois law has expanded the Restatement of Torts for personal injury
beyond statutory torts – and Plaintiffs have alleged none here.

                                                    13
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 22 of 34 PageID #:1401




address an argument that is not frivolous or non-dispositive, a non-moving party acquiesces in the

movant’s argument, and “acquiescence operates as a waiver”).

         Count Eight seeks recovery under slander of title. FAC ¶¶309-14. In their Motion,

Defendants explain why the FAC does not allege any suit-related activities in Illinois. Mtn. pp.23-

25. Again, Plaintiffs failed to respond, thus conceding their argument. See Cincinnati Ins. Co., 260

F.3d at 747; Stransky v. Cummins Engine Co., Inc., 51 F.3d 1329, 1335 (7th Cir.1995) (“[W]hen

presented with a motion to dismiss, the non-moving party must proffer some legal basis to support

his cause of action.... The federal courts will not invent legal arguments for litigants.”). Concession

aside, Sompo Japan took title to the Painting following the Auction in London and maintained title

to the Painting in Japan.21 Neither took place in Illinois.

         Counts Nine, Ten, Eleven, and Twelve seek restitution – the return of Sunflowers – and

unjust enrichment under “federal common law” and “plenary equitable authority.” FAC ¶¶315-

329. Plaintiffs do not allege any suit-related conduct arising out of or relating to Defendants’

Illinois contacts to support jurisdiction over such “claims”. See supra I.B; see also Mtn. pp.11-15.

         Further, Plaintiffs fail to carry their burden to plead that any Illinois-directed conduct gives

rise to or relates to Plaintiffs’ claims to confer specific personal jurisdiction over Defendants.

         B.     Plaintiffs Fail To Assert Certain Conduct Is “Related To” Their Claims.

                1.      Defendants’ Websites and Advertisements Do Not “Relate to”
                        Plaintiffs’ Claims.
         Plaintiffs argue that, because Illinois residents can view the Sunflowers image on a

Defendant’s website, that is sufficient to confer specific jurisdiction in Illinois. Rsp. pp.28-29, 36;


21
    As it relates to the issue of title, Plaintiffs argue that Defendants disregarded Christie’s “‘express
disclaimer’ that encouraged prospective buyers to investigate independently all materials offered at auction
to ensure that they were securing good title.” Rsp. p.4. Plaintiffs’ obfuscation on this point should be
ignored. As auctioneer, Christie’s did not warrant title to the Painting. Here, the Seller (the Beattys)
expressly warranted to the Buyer (Sompo Japan) that they would be able to “transfer good and marketable
title” to the Sunflowers. See Ex. 3 to FAC, PageID #484; see also Mtn. p.24.

                                                    14
  Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 23 of 34 PageID #:1402




see footnote 16 supra. That argument lacks merit. First, none of the Plaintiffs declare they have set

foot in Illinois, much less viewed the website in Illinois. Even so, the Seventh Circuit in Advanced

Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 803 (7th Cir. 2014)

flatly rejected that mere accessibility of a website in Illinois is sufficient to confer jurisdiction.

“Having an ‘interactive website’… should not open a defendant up to personal jurisdiction in every

spot on the planet where that interactive website is accessible.” The Seventh Circuit instead looked

to whether defendant had “targeted [forum state] somehow[]”. Id. Without attempting to

distinguish Advanced Tactical, Plaintiffs argue Curry v. Revolution Laboratories, LLC, 949 F.3d

385 (7th Cir. 2020) establishes that a website’s accessibility in Illinois can confer specific

jurisdiction, yet Curry is inapposite. There, the court found defendant’s website targeted Illinois

because it sold the product at issue to Illinois consumers through the website. Id. at 400. The

Seventh Circuit expressly clarified that those website sales to Illinois residents “distinguish[ed]

[defendant] from ‘the defendant [that] merely operates a website, even a ‘highly interactive’

website, that is accessible from, but does not target, the forum state.’” Id. (quoting be2 LLC v.

Ivanov, 642 F.3d 555, 559 (7th Cir. 2011)) (emphasis added). The FAC does not plead that

Plaintiffs purchased a “product” through any Defendants’ website accessible in Illinois, let alone

that the website was expressly aimed or targeted at Illinois consumers.

       The Ninth Circuit recently rejected an argument similar to Plaintiffs’ in Briskin. There, the

court analyzed whether a non-resident defendant’s interactive website was expressly aimed at the

forum conferring specific jurisdiction. 87 F.4th at 415. The court held that, to confer jurisdiction,

“something more” is required along with the interactive website. Id. at 417 (quoting Herbal

Brands, Inc. v. Photoplaza, Inc., 72 F.4th 1085, 1092 (9th Cir. 2023)). To establish that “something

more”, a plaintiff must allege that the “defendant platform has a ‘forum-specific focus,’” “the



                                                 15
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 24 of 34 PageID #:1403




defendant is specifically ‘appeal[ing] to ... an audience in a particular state,’” or the defendant is

“‘actively target[ing]’ the forum state....”22 Briskin, 87 F.4th at 419-20 (internal citations omitted).

Applied here, the Court must look to whether the FAC alleges facts that could establish that Sompo

expressly aimed its website at Illinois. It does not. Plaintiffs’ own “expert” confirms that

Defendants’ websites are not purposely directed or targeted to Illinois: Defendants invoked

Sunflowers “to gain commercial traction with insurance consumers in Illinois, and throughout

the U.S. where their corporate websites are accessible” and “Defendants...generating...subliminal

psychological connections and traction with insurance consumers in Illinois and elsewhere to

facilitate the sale of their products.” Ex. 3 to Rsp. ¶¶1, 11 (emphasis added). Plaintiffs allege no

facts that could establish that Defendants targeted Illinois differently than any other states through

their websites viewable worldwide.23

         Second, Plaintiffs assert that a national advertisement (Wall Street Journal Article, FAC

¶84) confers specific jurisdiction over Defendants in Illinois. Plaintiffs make no effort to

distinguish Eco Pro Painting, LLC v. Sherwin-Williams Co., 807 F. Supp. 2d 732, 737 (N.D. Ill.

2011), cited by Defendants, which held “[a]s a general rule, ‘national advertisements are

insufficient to subject a defendant to jurisdiction in Illinois.’” Plaintiffs’ claim must be rejected.

         Third, Plaintiffs completely avoid addressing Defendants’ argument that display of the

Sunflowers “image”, which is in the public domain, on an unspecified Sompo website is

insufficient to confer personal jurisdiction. Mtn. pp.29-32. Instead, Plaintiffs resort to name-calling


22
    Briskin further explains that “[w]hat is needed... is some prioritization of the forum state, some
differentiation of the forum state from other locations, or some focused dedication to the forum state which
permits the conclusion that the defendant’s suit-related conduct ‘create[s] a substantial connection’ with
the forum. Briskin, 87 F.4th at 420 (quoting Walden, 571 U.S. at 284).
23
   Plaintiffs claim that Defendants profit “by employing the Painting on their website to sell insurance in
Illinois.” Rsp. p.31. Briskin addressed a similar argument: “the fact that a broadly accessible web platform
knowingly profits from consumers in the forum state is not sufficient to show that the defendant is expressly
aiming its intentional conduct there.” Briskin, 87 F.4th at 419.

                                                     16
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 25 of 34 PageID #:1404




and misdirect their argument to the physical Painting.24 Rsp. p.40. Plaintiffs do not challenge

Defendants’ (let alone any other person’s) unfettered right to use the Sunflowers image, which is

in the public domain and free for all to use. See Dastar Corp. v. Twentieth Century Fox Film Corp.,

539 U.S. 23, 33–34, 123 S. Ct. 2041, 2048, (2003). Plaintiffs’ attempt to create a jurisdictional,

suit-related fact by characterizing the use of the Sunflowers image on an unspecified website as a

tool to influence the “subliminal subconscious of the Illinois insurance consumers” is a bridge too

far. Rsp. p.2; Mtn. p.11, n.5. Certainly, Plaintiffs do not allege that they are Illinois consumers and

they cannot manufacture suit-related conduct from the public domain image’s accessibility on a

website not targeted to Illinois. See Advanced Tactical, 751 F.3d at 796; Mtn. pp.29-32.

                2.      The Temporary Exhibition Does Not “Relate to” Plaintiffs’ Claims.
         One can only surmise that Plaintiffs likely filed this suit in Illinois because the Painting

was temporarily at the Art Institute of Chicago for 3½ months over 22 years ago. No Plaintiff

purports to have any connection with Illinois, let alone to have purchased insurance from any

Defendant nor affiliate of any Defendant in Illinois. Plaintiffs suggest Defendants “commercially

exploited” the Painting “to reap unjust enrichment” at the Exhibition, and that this (were it true)

would confer jurisdiction. Rsp. p.3225. But, Plaintiffs neither cite any supporting case law nor

distinguish Eli Barzilai, and Graff relied upon by Defendants. Rsp. pp.31-32, n. 100.26 Both held

the mere passage of the artwork at issue in the forum did not confer specific jurisdiction over

defendants, because plaintiffs’ injuries occurred elsewhere. More specifically, Graff involved the

alleged conversion of three paintings taken by plaintiff’s ex-wife and pawned to a Phoenix-based


24
   Instead of responding, Plaintiffs resort to calling Defendants’ argument “fatuous.” Rsp. p.40.
25
    Plaintiffs allege no facts to support their bald assertion that Defendants commercially exploited
Sunflowers at the Exhibition. By comparison, Defendants attached the United States Department of State’s
Federal Register Public Notice 3726 which shows neither Sompo Japan nor the Art Foundation received
any profit from the Painting’s inclusion in the Exhibition. See also Mtn. Ex. E.
26
   Citing Eli Barzilai, et al.. v. Israel Museum, No. 153086/2022, 2022 WL 16856131 (N.Y. Sup. Ct. Nov.
10, 2022) and Graff, 342 F. Supp 3d 819, at 821-22.

                                                  17
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 26 of 34 PageID #:1405




pawn shop. 342 F. Supp. 3d at 821-22. The plaintiff and his ex-wife resided in Texas; nothing

suggested that defendant knew plaintiff would potentially be injured in Illinois when it took

dominion and control of paintings in Arizona, or when it attempted to sell certain of paintings at

an Illinois auction. Id. at 826. The court ultimately held that, because the alleged conversion took

place in Arizona before the Illinois auction, defendant’s Illinois activities did not establish personal

jurisdiction over defendant for the conversion claims. Id.

         In Eli Barzilai, et al., 2022 WL 16856131, plaintiffs sued the Israel Museum for replevin

and conversion of an artwork allegedly in their family’s possession until the Nazis came to power

in Germany. Id. at 1. The plaintiffs sued in New York state court because (i) the painting had been

temporarily displayed at the New York Public Library from September 1988 to January 1989, then

returned to the Israel Museum; and (ii) the Israel Museum conducts business in New York. Id. at

4. The court determined that defendants were not subject to personal jurisdiction in New York

because the Israel Museum’s New York business transactions did not have a substantial

relationship with their claims for the artwork. Id. at 6.

         Attempting to distinguish Barzilai, Plaintiffs argue Defendants’ allegedly “tortious

possession” of Sunflowers at the Exhibition gave rise to various “torts and crimes”.27 Rsp. p.32,

n. 100. And Sompo Japan’s possession of Sunflowers in Illinois did not give rise to Plaintiffs’

Illinois state law claims of conversion, replevin, trover, or unjust enrichment where Sompo Japan

purchased Sunflowers at the Auction in London, not Illinois. Mtn. pp.3; 18-21. Trying to

distinguish Graff, Plaintiffs accuse Defendants of being “stuck in a jurisdictional ‘time warp’”

because Graff predated Ford and was decided upon a “now discredited requirement that conduct


27
  Plaintiffs’ salacious claim in ¶106 of the FAC – that Defendants committed a list of unspecified,
unsupported “crimes” to support the premise that personal jurisdiction exists in Illinois – must be rejected.
Rsp. p.32, n. 100. This is a civil case and Plaintiffs have never brought alleged “crimes” as counts. Thus,
any resort to baseless accusations of such “crimes” do not support specific jurisdiction over Defendants.

                                                     18
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 27 of 34 PageID #:1406




causing the plaintiff’s injury occur in the forum State.” Rsp. p.32. Plaintiffs are wrong. The Graff

court determined no suit-related conduct occurred in Illinois; its holding is entirely consistent with

the Ford and Bristol-Myers’ holdings.

                3.       Insurance Sales by Non-Parties Do Not “Relate to” Plaintiffs’ Claims.
         Plaintiffs argue that because Defendants “commercially exploit[ed]” the Painting on their

websites to sell insurance in Illinois and engage in insurance marketing at a non-Defendant Sompo

Entity’s Madison Street, Chicago office, these facts sufficiently relate to their claims to confer

specific jurisdiction. Rsp. pp.22, 32. Plaintiffs stretch the “relate to” requirement too far. To satisfy

either the “arising out of” or “relate to” tests, Defendants’ insurance sales would have to be

connected with the controversy that establishes jurisdiction. Bristol-Myers, 582 U.S. at 262. No

such connection exists between Sompo Japan’s purchase of the Painting at Auction (Plaintiffs’ so-

called “conversion”) and another company’s Illinois insurance sales. Mtn. pp.25-26. Nor can a

Defendant’s display of a public domain image on a website serve as the basis for specific

jurisdiction over Plaintiffs’ commercial exploitation claims. Id. Importantly, none of the Sompo

Entities directly sell insurance to Illinois consumers in Illinois, facts which remain unrefuted. See

Mtn. at (Exs. A-E).28

         Plaintiffs’ reliance on uBID, Inc. v. GoDaddy Group, Inc., 623 F.3d 421 (7th Cir. 2010) to

support their argument that their claims “relate to” a non-defendant’s sale of insurance in Illinois

is misplaced. Rsp. pp.24-26. uBID addressed a trademark infringement claim based on a

defendant’s product sales through its website to Illinois customers.29 Id. at 423. The court found


28
   Plaintiffs rely on Ptasinska v. U.S. Dept. of State, 07 C 3795, 2007 WL 3241560 (N.D. Ill. Nov. 1, 2007)
to allege the Court must “draw all reasonable inferences” in favor of plaintiffs for motions to dismiss under
Fed. R. Civ. P. 12(b)(1) and 12(b)(2). Rsp. p.7. However, the Court must accept as true all unrefuted facts
put forth in Defendants’ declarations. Shanahan, 2020 WL 3058088, at *1 (citing Northern Grain
Marketing, 743 F.3d at 491; see also Mtn. p.6.
29
   Plaintiffs’ reliance on Chicago Transit Auth. Retiree Health Care Tr. v. Dilworth Paxson, LLP, 19-CV-
07570, 2020 WL 6393006 (N.D. Ill. Nov. 2, 2020) is misplaced. In Chicago Transit, a dispute arose from

                                                     19
  Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 28 of 34 PageID #:1407




specific jurisdiction existed because plaintiffs’ claims derived from defendants’ Illinois advertising

and sales via the website at issue. Id. at 431.30 Here, none of Plaintiffs’ replevin, conversion, trover,

or unjust enrichment claims derive from Illinois insurance sales.

        C.       The Court’s Exercise Of Specific Jurisdiction Would Be Unfair.

        This Court’s exercise of specific jurisdiction over Defendants would violate traditional

notions of fair play and substantial justice. Mtn. pp.35-37. Plaintiffs’ primary argument to the

contrary rests on the fact that Sompo Japan has brought lawsuits in Illinois over contracts that have

nothing to do with the issues or Plaintiffs in this case. Rsp. p.34. When the lawsuit has nothing to

do with the issues in the current litigation between different parties, courts have refused to find

that jurisdiction would be appropriate. Travelers Cas. & Sur. Co. v. Interclaim (Bermuda) Ltd.,

304 F. Supp. 2d 1018, 1025 (N.D. Ill. 2004). Plaintiffs’ claims, seeking both the Painting and

damages for alleged overseas torts, have nothing to do with unrelated actions between different




sale of bonds by defendants. Id. at *1. The court found that the allegations were foreseeable where one
defendant worked to complete the sale of bonds to an Illinois plaintiff; and one defendant prepared
documents intended to facilitate the bond sales to an Illinois plaintiff, and he affirmatively reached out to
plaintiff’s Chicago bank to ensure that sale was timely. The FAC is devoid of any communications between
Plaintiffs and Defendants in Illinois. Similarly, in Illinois v. Hemi Group LLC, 622 F.3d 754 (7th Cir. 2010),
cited by Plaintiffs, the court determined that defendant’s sales of cigarettes to Illinois residents was a suit-
related contact. Id. at 759 (state sued cigarette company for violating state and federal law). Plaintiffs’
reliance on In re Syngenta Mass Tort Actions, 3:16-CV-00255-DRH, 2017 WL 2117728 (S.D. Ill. May 15,
2017) is equally misplaced. There, defendants sold seeds to Illinois plaintiffs in a dispute over whether the
genetically modified seeds caused their injuries. The defendants maintained facilities in Illinois to sell their
genetically modified corn. Id. at *4-5. In contrast, Defendants here do not sell any product in Illinois that
relates in any way to Plaintiffs’ claims for replevin and conversion for Sompo Japan’s purchase of the
Painting at the Auction and now displayed in Japan, nor can the commercial exploitation claim confer
jurisdiction where the Sunflowers image is in the public domain. Cf. O'Neal v. Bumbo Int'l Tr., 16 F. Supp.
3d 952, 958-59 (S.D. Ind. 2014) (jurisdiction existed where defendant sold the defective infant seats in one
state and used a distribution network expecting forum consumers to buy them).
30
   Plaintiffs cite to O'Connor v. Sandy Lane Hotel Co., Ltd., 496 F.3d 312 (3d Cir. 2007) to allege that
specific jurisdiction exists, yet that case dealt with the foreign defendant entering a contract with an Illinois
resident. Plaintiffs’ reliance on Tamburo v. Dworkin, 601 F.3d 693, 702 (7th Cir. 2010) fares no better.
That case dealt with defamatory statements about an Illinois resident published in Illinois.



                                                       20
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 29 of 34 PageID #:1408




parties seeking recovery for subrogation relating to loss paid under an insurance policy. All factors

weigh against finding specific jurisdiction over claims relating to the Painting. See Mtn. pp.35-37.

         D.     Illinois’ Long-Arm Statute Does Not Confer Personal Jurisdiction.

         Plaintiffs contend that jurisdiction exists under Illinois’ long-arm statute yet make no

argument in their Response that their claims fall under Sections 209(a)(1) (based on transaction of

business) and (a)(4) (insurance contract). Plaintiffs improperly contend that (a)(2) “prescribes

jurisdiction arising from or related to the commission of a tortious act in Illinois” (Rsp. p.31), but

contrary to Plaintiffs’ mischaracterization, (a)(2) does not contain any “relate to” language – the

tort must be committed in Illinois. Plaintiffs are also off-base in their assertion that “[p]aragraph

116 of the FAC enumerates the many tortious acts Defendants committed in Illinois by employing

the Painting integrally to sell insurance.” Id. Assuming Plaintiffs meant ¶106, they are off base:

¶106 lists claims never pled nor supported by facts. Unsupported false conclusions of law cannot

supplant the need to cite facts to support a tort committed in Illinois. FAC ¶106; Mtn. p.25, n. 12.

Consequently, Section 209(a)(2) does not support finding personal jurisdiction over Defendants.

IV.     ALTERNATIVELY, THE DOCTRINE OF FORUM NON CONVENIENS
        WARRANTS DISMISSAL

         A.     Japan Is An Available And Adequate Forum.

         Where, as here, an alternative forum is available31 and adequate, and the balance of private

and public interests weigh in favor of dismissal, the Court should dismiss this case pursuant to the

doctrine of forum non conveniens (“FNC”). Mtn. pp.39-44. Japan is undoubtedly the proper forum

for Plaintiffs’ claims. Supported by the Declaration of Hon. Hiroyuki Kanno, a retired Justice of

the Supreme Court of Japan, Defendants explained Japan is an available and adequate forum for


31
  Plaintiffs do not argue Japan is not an available forum. Out of an abundance of caution, Defendants
submit herewith, an updated Declaration from Sompo Bermuda stating that it would consent to a Japanese
court’s jurisdiction should the Court dismiss this case on forum non conveniens grounds. See Exhibit A.

                                                  21
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 30 of 34 PageID #:1409




resolving Plaintiffs’ claims. Mtn. Ex. F. Plaintiffs do not dispute that Japanese courts will

recognize civil causes of action for return of property and torts, with available remedies, or that

Japanese judges have vast investigatory powers, or that Japanese procedures are adequate. See id.

pp.42-43 (citing, e.g., U.S.O. Corp. v. Mizuho Holding Co., 547 F.3d 749, 753–54 (7th Cir. 2008)).

Consequently, on each of these grounds, Plaintiffs concede that Japan is an available forum.32

         Instead, Plaintiffs contend Japan is not an adequate forum because their replevin claim

“would be time-barred there” under the doctrine of acquisitive prescription. Rsp. p.42. Plaintiffs

suggest that in order for FNC to apply, Defendants must agree to waive that defense under Japanese

law, and prove that the waiver would be enforced under Japanese law (id.), but these

“preconditions” are inappropriate.33 Conspicuously absent from the FAC are any facts discussing

when Plaintiffs discovered their alleged interest in Sunflowers. Why does this matter? In Chang v.

Baxter Healthcare Corp., 599 F.3d 728, 736 (7th Cir. 2010), the Seventh Circuit pointed to “an

exception…for cases in which a plaintiff seeks to defeat dismissal by waiting until the statute of



32
  See Cincinnati Ins. Co., 260 F.3d at 747.
33
  Plaintiffs’ FNC cases are inapposite. In Chang, the court was “uncertain” whether the product liability
claim would be “time-barred if litigated in a Taiwanese court.” 599 F.3d at 735. In Ledesma v. Marriott
Int'l, Inc., 18-CV-3947, 2021 WL 2953145 (N.D. Ill. July 14, 2021), plaintiff sued for negligence after an
elevator suddenly dropped several floors. Id. at *1-2. Because the court determined that the single personal
injury claim would be time-barred in India, the court denied dismissal on the basis of FNC. Id. at *2-3. In
Lyons v. Hyatt Hotels Corp., 3:21-CV-126 DRL-MGG, 2021 WL 5015128 (N.D. Ind. Oct. 27, 2021),
plaintiff sued for personal injury claims after his golf cart shuttle lost control and struck some boulders in
Mexico. Id. at *1. Because plaintiff’s claims would be time-barred in Mexico, the court found the forum
inadequate. Id. at *2-3. In TGI Sys. Corp. v. Jens Giessler & Neumann & Muller GmbH & Co. KG, 15 C
4341, 2016 WL 878264 (N.D. Ill. Mar. 8, 2016) plaintiff sued defendant for breach of contract. Id. at *1.
The court denied dismissal based on FNC, in part because defendant only offered a “conclusory statement”
that Bahamian courts were adequate and fair (id. at *4) and failed to address “whether [plaintiff’s] claims
would be barred in a Bahamian court by the statute of limitations in that forum.” Id. However, here,
Defendants have gone beyond simple conclusory statements that Japan courts offer and adequate and fair
forum – by citing to caselaw supporting this argument in their Motion and providing Hon. Kanno’s
Declaration, who analyzed why the Japanese court system is adequate and fair. See Mtn. p.41-43; Kanno
Decl. II.A-B; E. Further, Hon. Kanno addresses the time-bar allegations in his Declaration by explaining
that plaintiffs can bring three claims in Japan and that the law of acquisitive prescription is not an automatic
bar. (See Kanno Decl. V.A.1-3; VI.A).

                                                      22
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 31 of 34 PageID #:1410




limitations in the alternative forum has expired and then filing suit in his preferred forum (with the

longer limitations period) and arguing that the alternative forum is inadequate.” Without alleging

facts in the FAC as to when Plaintiffs first learned Sunflowers was in Mendelssohn-Bartholdy’s

collection, the assert a mere legal conclusion – their claims are time-barred in Japan because 20

years have elapsed since Sompo Japan acquired Sunflowers at the Auction. Rsp. p.43.34 Applying

Chang, unless Plaintiffs were ignorant of their claimed interest in Sunflowers until after 2007,

Chang does not help them defeat an FNC dismissal.35 As Hon. Kanno explained, under a defense

of acquisitive prescription, a person that peacefully and openly possesses the property of another

for 20 years with an intention to own the property, even if bad faith and negligence is found,

acquires ownership. Kanno Dec. at VI.A. However, Hon. Kanno explained that “[t]he Defendants

do not acquire ownership automatically upon expiration of the period....” Id. Thus, because

acquisitive prescription is not automatic, Plaintiffs’ argument that one of their claims “would be

time-barred” contradicts Hon. Kanno’s Declaration.

         In his unchallenged Declaration, Hon. Kanno explains why Japan is an available and

adequate forum. Mtn. Ex. F. Though Japanese courts have not adopted a case law principle,

“precedents have great influence” (Kanno Dec. at II.B.3.); examination of witnesses “are

conducted in the same manner as in countries that have adopted a common law system, i.e., by the

cross-examination method” (Id. at II.B.6.); and parties do not need permission to appeal a judicial




34
  Plaintiffs mistakenly state 20 years after 1987 is “2017”. Twenty years after 1987 is 2007. Rsp. p.43.
35
  Plaintiffs’ argument assumes the HEAR Act (cited repeatedly in the FAC) applies and will resurrect
Plaintiffs’ state law claims. However, The HEAR Act applies to Nazi-stolen art, not to artwork sold to
another individual in France. FAC ¶5. Second, “the HEAR Act does not revive causes of action where the
potential claimant knew about a possible cause of action after 1999, could have brought a timely claim, but
waited more than six years to bring a claim.” Reif v. Art Inst. of Chicago, No. 23-CV-2443 (JGK), 2023
WL 8167182, at *5 (S.D.N.Y. Nov. 24, 2023). Again, the HEAR Act does not apply to Plaintiffs’ claims
and indeed the HEAR Act’s exception will not extend expired statutes of limitation to those who knew of
the existence of Sunflowers in the Decedents’ possession and failed to file timely claims.

                                                    23
     Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 32 of 34 PageID #:1411




decision. Id. at II.B.11. Also, the judiciary is independent, judges are “bound only by [Japan’s]

Constitution and the laws” and there is “no explicit or implicit pressure on judges, including those

of lower courts, from the government.” Id. at II.E. As for jurisdiction over this case, Hon. Kanno

explained that “there are no circumstances where a Japanese court will refuse to accept the Action

on the grounds that it has no international jurisdiction.” Id. at III.A. Plaintiffs do not challenge any

of the aforementioned. Thus, Japan is an available and adequate forum.

         B.      The Private And Public Interest Factors Support Dismissal Under FNC.

         Defendants explained in their Motion why private and public interest factors weigh heavily

in favor of dismissal pursuant to FNC. Mtn. pp.41, 43. Plaintiffs fail to challenge Defendants’

arguments, just baldly positing Defendants “have not met” their burden.36 Rsp. p.43, n.131.

         Of the private factors, the most significant is the attendance of witnesses (see GoldenTree

Asset Mgmt. LP v. BNP Paribas S.A., 64 F. Supp. 3d 1179, 1195 (N.D. Ill. 2014)), most of whom

(including the key witnesses regarding Sunflowers’ acquisition) have either died or live in Japan

or Europe – certainly not in Illinois. Mtn. p.43. Plaintiffs ignore this and absurdly argue “most of

the events giving rise to the Heirs’ claims occurred in Illinois.” Rsp. p.43, n. 131 (emphasis

added). This is at odds with their contention that their claims need only “relate to” Defendants’

Illinois activities. Rsp. pp.22-23; 24-26; 29-33. Sunflowers was only in Illinois 22 years ago for

3½ months. See supra II.A.2. Plaintiffs also contend, without facts, that “all of the evidence”

surrounding Defendants’ tortious misuse of Sunflowers is in Illinois or in the U.S. Rsp. p.43, n.

131. Defendants’ Declarations, on the other hand, state “[t]he owner of Sunflowers is located in



36
  Plaintiffs cite Deb v. SIRVA, Inc., 832 F.3d 800, 805-06 (7th Cir. 2016) to argue defendants carry a
“heavy” burden in establishing FNC. However, “when a plaintiff’s choice is not his home forum...the
presumption in the plaintiff's favor...applies with less force.” Id. at 806. Here, Plaintiffs are suing far from
their homes (Berlin, Munich, and Sweden – FAC ¶¶19-21). Plaintiffs lack grounds to invoke Defendants’
“heavy” burden in establishing the doctrine’s application here.

                                                      24
  Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 33 of 34 PageID #:1412




Japan” and “[m]ost of the key witnesses to Yasuda’s acquisition of the Painting are either deceased

or located in Japan, along with any relevant documents.” Mtn. p.41 (see Sompo Japan Decl., ¶¶3,

9, 11). Finally, Plaintiffs assert Defendants have a “commercial presence in Illinois” and litigate

in the U.S. frequently. Rsp. p.43, n. 131. Neither of these “facts” impact the private factors courts

use to determine dismissal under FNC. See Mtn. p.43. Thus, the private interest factors weigh

heavily in favor of Japan as the forum.

       As for public interest factors, Japan is the more appropriate forum. Clearly, there is no

localized controversy in Illinois: any conversion of Sunflowers took place outside of Illinois;

Plaintiffs are not Illinois residents; and Defendants are all non-residents. Id. Plaintiffs’ vague

references to the HEAR Act’s purpose or the United States’ and Illinois’ purported “potent

governmental interests” in addressing Plaintiffs’ claims do not explain how the public interest

factors weigh in favor of finding Illinois, as opposed to Japan, is the proper forum. Rsp. p.43,

n. 131. Should this Court not dismiss for lack of standing or of specific personal jurisdiction, it

should dismiss under the doctrine of forum non conveniens.

                                          CONCLUSION

       Defendants respectfully request that this Court grant their Motion to Dismiss.




                                                 25
 Case: 1:22-cv-07013 Document #: 68 Filed: 02/02/24 Page 34 of 34 PageID #:1413




                                            Respectfully submitted,

Daniel T. Graham (ARDC No. 6203811)         SOMPO HOLDINGS, INC.,
Priscilla Singer (ARDC No. 6307021)         SOMPO INTERNATIONAL HOLDINGS,
Jeffrey M. Sniadanko (ARDC No. 6331532)     LTD., SOMPO FINE ART
Melissa E. Garcia (ARDC No. 6342000)        FOUNDATION, and
CLARK HILL PLC                              SOMPO JAPAN INSURANCE INC.,
130 East Randolph Street, Suite 3900        Defendants
Chicago, Illinois 60601
Telephone: (312) 985-5900                   By:    /s/ Daniel T. Graham
dgraham@clarkhill.com                               One of their Attorneys
psinger@clarkhill.com
jsniadanko@clarkhill.com
mgarcia@clarkhill.com

Ronald A. King (N. D. Ill. No. 90784709)
CLARK HILL PLC
215 South Washington Square, Suite 200
Lansing, MI 48933
Telephone: (517) 318-3100
rking@clarkhill.com




                                           26
